      Case 18-13243 Doc 18 Filed 12/09/18 Entered 12/09/18 23:35:32 Imaged Certificate of
                                      Notice Page 1 of 3
Information to identify the case:
Debtor 1               Duc Tran                                                         Social Security number or ITIN        xxx−xx−2335
                       First Name   Middle Name     Last Name                           EIN _ _−_ _ _ _ _ _ _
Debtor 2               Lynn Mai                                                         Social Security number or ITIN        xxx−xx−8530
(Spouse, if filing)
                       First Name   Middle Name     Last Name                           EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court             Eastern District of Louisiana
                                                                                        Date case filed for chapter 7 12/6/18
Case number:          18−13243 Section A Office Code: 2


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                  About Debtor 1:                                    About Debtor 2:

1.      Debtor's full name                        Duc Tran                                           Lynn Mai

2.      All other names used in the
        last 8 years

3.     Address                                3629 Ridgelake Dr. Unit 15                             3629 Ridgelake Dr. Unit 15
                                              Metairie, LA 70002                                     Metairie, LA 70002

4.     Debtor's attorney                      Rachel Thyre Anderson                                 Contact phone (985) 377−9271
                                              428 W. 21st Ave.
       Name and address                       Covington, LA 70433                                   Email: rachel@rachelandersonlaw.com

5.     Bankruptcy trustee                     Wilbur J. (Bill) Babin Jr.                            Contact phone (504) 833−8668
                                              3027 Ridgelake Drive
       Name and address                       Metairie, LA 70002                                    Email: trusteebabin@wjbabin.com −−>
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
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                                     Notice Page 2 of 3
Debtor Duc Tran and Lynn Mai                                                                                                 Case number 18−13243


6. Bankruptcy clerk's office                    United States Bankruptcy Court                                 Hours open:
                                                Eastern District of Louisiana                                  8:30 − 4:30 Monday − Friday
    Documents in this case may be filed at this Hale Boggs Federal Building
    address. You may inspect all records filed 500 Poydras Street, Suite B−601                                 Contact phone (504) 589−7878
    in this case at this office or online at    New Orleans, LA 70130
    www.pacer.gov.
                                                                                                               Date: 12/6/18

7. Meeting of creditors                          January 3, 2019 at 09:00 AM                                   Location:

    Debtors must attend the meeting to be         The meeting may be continued or adjourned to a later date. F. Edward Hebert Federal Bldg,
    questioned under oath. In a joint case,       If so, the date will be on the court docket.                   #111, 600 S. Maestri Street, New
    both spouses must attend. Creditors may At the meeting, the trustee may give oral notice of an
    attend, but are not required to do so.        intention to abandon estate property.                          Orleans, LA 70130
    Debtor(s) must provide picture identification and proof of social security number to the trustee. Debtor(s) must inform the court of any change of
    address as long as this case or any related adversary proceeding is pending. B. R. 4002. Failure to do so may result in dismissal of the case.
    NOTICE: FAILURE OF A DEBTOR TO ATTEND THE MEETING OF CREDITORS IS GROUNDS FOR IMMEDIATE DISMISSAL OF THIS BANKRUPTCY CASE BY THE
    COURT, WITHOUT FURTHER NOTICE TO THE DEBTOR, CREDITORS OR PARTIES OF INTEREST.



8. Presumption of abuse                          The presumption of abuse arises.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                  Filing deadline: 3/4/19
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                             Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as           conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize an
                                                 exemption claimed, you may file an objection.
    Financial Management Course:                 Certification About a Financial Management Course (Official Form 423) for individual chapter 7 debtor
                                                 due 60 day after first date set for the meeting of creditors.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                 not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                 exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                 www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                 debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                            page 2
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                                               United States Bankruptcy Court
                                               Eastern District of Louisiana
In re:                                                                                                     Case No. 18-13243-EWM
Duc Tran                                                                                                   Chapter 7
Lynn Mai
              Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 053L-2                  User: admin                        Page 1 of 1                          Date Rcvd: Dec 07, 2018
                                      Form ID: 309A                      Total Noticed: 22

Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Dec 09, 2018.
db/db          +Duc Tran,   Lynn Mai,    3629 Ridgelake Dr. Unit 15,    Metairie, LA 70002-1747
smg            +Collector of Revenue,    City of New Orleans,    Department of Finance,
                 1300 Perdido Street, RM 1W15,    New Orleans, LA 70112-2128
smg             Louisiana Department of Revenue,    Collection Division/Bankruptcy Section,     P. O. Box 66658,
                 Baton Rouge, LA 70896-6658
smg             U. S. Attorney’s Office,    Eastern District of Louisiana,    650 Poydras Street,    Suite 1600,
                 New Orleans, LA 70130-7212
3682313        +Bay Medical Center,   2903 Martin Luther King Jr Blvd,     Panama City, FL 32405-5013
3682315        +Capital One Auto Finance,    PO Box 259407,    Plano, TX 75025-9407
3682319        +Dept of Ed/Navient,   123 Justison St 3rd Floor,     Wilmington, DE 19801-5360
3682321        +East Jefferson Gen Hosp,    PO Box 919126,    Dallas, TX 75391-9126
3682322         La Maison de la Bonne Vie HOA,    3725 Ridgelake Drive,    Metairie, LA 70002
3682324        +Mr. Cooper,   8950 Cypress Waters Blvd,     Coppell, TX 75019-4620
3682325        +Southern Credit Recovery,    3228 6th St #201,    Metairie, LA 70002-1677

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: rachel@rachelandersonlaw.com Dec 07 2018 19:51:43        Rachel Thyre Anderson,
                 428 W. 21st Ave.,   Covington, LA 70433
tr             +EDI: BWJBABINJR.COM Dec 08 2018 00:54:00       Wilbur J. (Bill) Babin, Jr.,
                 3027 Ridgelake Drive,    Metairie, LA 70002-4924
smg            +E-mail/Text: bankruptcy_bpc@lwc.la.gov Dec 07 2018 19:52:02        Louisiana Workforce Commission,
                 UI Tax Liability and Adjudications,    Attn: Bankruptcy Unit,      1001 N. 23rd Street,
                 Baton Rouge, LA 70802-3338
ust            +E-mail/Text: ustpregion05.nr.ecf@usdoj.gov Dec 07 2018 19:51:52        Office of the U.S. Trustee,
                 400 Poydras Street,    Suite 2110,   New Orleans, LA 70130-3238
3682314        +E-mail/Text: bankruptcyfilings@campusfederal.org Dec 07 2018 19:51:47
                 Campus Federal Credit Union,    PO Box 98036,    Baton Rouge, LA 70898-9036
3682316        +EDI: CAPITALONE.COM Dec 08 2018 00:54:00       Capital One NA,    10700 Capital One Way,
                 Richmond, VA 23060-9243
3682317        +EDI: CHASE.COM Dec 08 2018 00:53:00      Chase Bank USA,    PO Box 15298,
                 Wilmington, DE 19850-5298
3682318        +E-mail/Text: CCICollectionsGlobalForms@cox.com Dec 07 2018 19:52:08         Cox Communications,
                 PO Box 9001079,   Louisville, KY 40290-1079
3682320        +EDI: TSYS2.COM Dec 08 2018 00:53:00      DSNB/Macys,    PO Box 8218,    Mason, OH 45040-8218
3682323        +EDI: PARALONMEDCREDT Dec 08 2018 00:54:00       Medicredit,    PO Box 1629,
                 Maryland Heights, MO 63043-0629
3682326        +EDI: RMSC.COM Dec 08 2018 00:54:00      SYNCB/Care Credit,     PO Box 965036,
                 Orlando, FL 32896-5036
                                                                                                TOTAL: 11

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Dec 09, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on December 6, 2018 at the address(es) listed below:
NONE.                                                                                       TOTAL: 0
